              Case 8:22-cv-01434-DOC-ADS Document 14 Filed 10/03/22 Page 1 of 16 Page ID #:43



                      1   John S. Purcell (SBN 158969)
                          Lynn R. Fiorentino (SBN 22691)
                      2   Douglas E. Hewlett, Jr. (SBN 293438)
                          ARENTFOX SCHIFF LLP
                      3   555 West Fifth Street, 48th Floor
                          Los Angeles, California 90013-1065
                      4   Telephone: 213.629.7400
                          Facsimile: 213.629.7401
                      5   Email: john.purcell@afslaw.com
                                  lynn.fiorentino@afslaw.com
                      6           douglas.hewlett@afslaw.com
                      7   Attorneys for Boscov’s, Inc.
                      8
                      9                            UNITED STATES DISTRICT COURT
                     10                          CENTRAL DISTRICT OF CALIFORNIA
                     11
                     12   ANNETTE CODY, individually and on           Case No. 22-CV-01434-DOC-ADS
                          behalf of all others similarly situated,
                     13                                               CLASS ACTION
                                            Plaintiff,
                     14                                               DEFENDANT’S MEMORANDUM OF
                          v.                                          POINTS AND AUTHORITIES IN
                     15                                               SUPPORT OF ITS MOTION TO
                          BOSCOV’S, INC.,                             DISMISS PLAINTIFF’S
                     16                                               COMPLAINT
                                            Defendant.
                     17
                     18                                               Date:        November 7, 2022
                                                                      Time:        8:30 a.m.
                     19                                               Judge:       Hon. David O. Carter
                                                                      Courtroom:   10A
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27
                     28
A RENT F OX S C HI FF
                          Case No. 8:22-cv-01434-DOC-ADS
       LLP
 ATTO RNEY S AT LAW
                                                                     -1-             DEF.’S MOTION TO DISMISS
    LOS A NG EL ES
                Case 8:22-cv-01434-DOC-ADS Document 14 Filed 10/03/22 Page 2 of 16 Page ID #:44



                        1                                    INTRODUCTION
                        2         Boscov’s is a family-owned department store based primarily in Pennsylvania,
                        3   with its westernmost store located in Ohio. At first glance, it may be surprising that
                        4   a California resident would even visit Boscov’s website. 1 It becomes even more
                        5   puzzling why she allegedly would start a conversation through the website’s chat
                        6   feature designed to help customers with their orders, when Plaintiff has never ordered
                        7   anything from Boscov’s. The plot thickens even more when Plaintiff claims her
                        8   “privacy” was invaded by the conversation she initiated with an unfamiliar company
                        9   over the Internet – ostensibly because Boscov’s is somehow “wiretapping” its own
                       10   website.
                       11         But once one realizes that Plaintiff and her counsel have been carpet bombing
                       12   businesses across the country with the same cookie-cutter demand letter – insisting
                       13   on six figures to settle Plaintiff’s individual California Invasion of Privacy Act
                       14   (“CIPA”) claim based solely on a generic and unsubstantiated allegation that she used
                       15   a company’s website chat service – it becomes less surprising. It makes even more
                       16   sense when one understands that this is Plaintiff’s counsel’s business model: partner
                       17   with a consumer to troll websites for purported “violations” of consumer protection
                       18   laws, and then attempt to extort an in terrorem settlement. 2 Indeed, one of Mr.
                       19   Ferrell’s previous targets is currently attempting to enforce a settlement agreement
                       20   resolving a multi-year RICO lawsuit against him and his former firm. 3 This suit was
                       21   based on various litigation schemes, one of which involved bribing individuals to
                       22   “stage private phone calls to various companies” and then “threaten companies with
                       23   statewide class actions under [CIPA Section 632] and, before the companies could
                       24
                       25
                            1
                                    See https://www.boscovs.com/.
                            2
                                    See, e.g., https://www.tortreform.com/news/daily-dicta-paying-for-plaintiffs-
                       26   rico-suit-accuses-california-firm-of-bribing-plaintiffs/ and
                            https://www.karlinlaw.com/ada-accessibility-law/pacific-trial-attorneys-scott-j-
                       27   ferrell-ada-website-lawsuits-and-claims/
                            3
                       28           See Nat.-Immunogenics Corp. v. Newport Trial Grp., No. SACV-15-2034-
                            JVS-JCGx, (C.D. Cal.).
A RENT F OX S HI FF LLP
                            Case No. 8:22-cv-01434-DOC-ADS
   ATTO RNEY S AT LAW
      LOS A NG EL ES
                                                                      -2-                   DEF.’S MOTION TO DISMISS
                Case 8:22-cv-01434-DOC-ADS Document 14 Filed 10/03/22 Page 3 of 16 Page ID #:45



                        1   discover the allegations were false, extort out-of-court settlements from these
                        2   companies.”4
                        3          What’s past is prologue. But here, the Court has an opportunity to nip this new
                        4   scheme in the bud because Plaintiff’s attempt to criminalize routine communications
                        5   over the Internet is foreclosed by a half century of CIPA precedent.
                        6          First, as for Plaintiff’s original claim under Section 631, Boscov’s cannot
                        7   “intercept” messages as a party to the communication, which is exactly what Plaintiff
                        8   is alleging here. Am. Compl. ¶ 11 (“Defendant has covertly embedded code into its
                        9   chat feature that automatically records and creates transcripts of all such private
                       10   conversations”). Simply put, only third parties can possibly “wiretap” under Section
                       11   631. This fact alone is fatal to Plaintiff’s claim against Boscov’s.
                       12          Second, and independently, Plaintiff is not even plausibly alleging that any
                       13   interception or eavesdropping actually occurred in transit that would implicate
                       14   Section 631. Her complaint effectively amounts to “how dare you not delete the
                       15   message I recorded on your website.” This self-created grievance is a “recording”
                       16   complaint expressly occurring at the end point of the communication (Boscov’s
                       17   website), which would implicate, if anything, CIPA Section 632. It is not an
                       18   “interception” or “wiretapping” complaint under Section 631 that can only occur
                       19   when a message has not yet reached its destination.
                       20          Finally, as to Plaintiff’s new claim under Section 632.7, the plain language of
                       21   this statute makes it clearly inapplicable to the allegations at hand.           By its
                       22   unambiguous terms, Section 632.7 exclusively applies to communications
                       23   transmitted between two telephones. Of course, Boscov’s website is not a telephone,
                       24   and Plaintiff was admittedly only communicating with Boscov’s, if at all, on its
                       25   website. Plaintiff’s decision to amend her complaint to add this claim is therefore
                       26   objectively meritless.
                       27
                            4
                       28          Id., 2020 WL 5239856, at *2 (C.D. Cal. Aug. 3, 2020).
A RENT F OX S HI FF LLP
                            Case No. 8:22-cv-01434-DOC-ADS
   ATTO RNEY S AT LAW
      LOS A NG EL ES
                                                                     -3-                     DEF.’S MOTION TO DISMISS
                Case 8:22-cv-01434-DOC-ADS Document 14 Filed 10/03/22 Page 4 of 16 Page ID #:46



                        1                                STATUTORY FRAMEWORK
                        2          It should be noted at the outset that California has a first-in-the-nation
                        3   comprehensive privacy law that gives consumers control over their personal data –
                        4   the California Consumer Privacy Act (“CCPA”). The CCPA purposely addresses
                        5   how businesses can use consumers’ information obtained online, what disclosures
                        6   are required, and how such disclosures need to be made. There is no claim here –
                        7   nor could there be – that Boscov’s is not in compliance with any applicable
                        8   requirements under the CCPA, the law that was enacted to specifically address online
                        9   privacy issues and the larger Internet ecosystem.
                       10          Instead, Plaintiff’s claims arise under CIPA, a law originally enacted in 1967
                       11   – obviously well before the Internet age – for the express purpose of preventing
                       12   “eavesdropping upon private communications” and “the invasion of privacy resulting
                       13   from the continual and increasing use” of “modern listening devices.” Cal. Penal
                       14   Code § 630. In short, the California Legislature wanted to prevent snooping on
                       15   private conversations, and this is Plaintiff’s attempt to put old wine in a new bottle.
                       16          Relevant here, Plaintiff brings a claim under CIPA Section 631 – which is a
                       17   prohibition on “wiretapping” private communications in transit. More specifically,
                       18   the California Supreme Court has held that Section 631 protects against three types
                       19   of harms: “[1] intentional wiretapping, [2] willfully attempting to learn the contents
                       20   or meaning of a communication in transit over a wire, and [3] attempting to use or
                       21   communicate information obtained as a result of engaging in either of the two
                       22   previous activities.” Tavernetti v. Superior Court, 22 Cal.3d 187, 192 (1978))
                       23   (emphasis added).
                       24          Critically, given CIPA’s express purpose of preventing eavesdropping and as
                       25   a further common-sense guardrail, Section 631 consistently “has been held to apply
                       26   only to eavesdropping by a third party and not to recording by a participant to a
                       27   conversation.” Warden v. Kahn, 99 Cal. App. 3d 805, 811 (Ct. App. 1979); see also
                       28   Powell v. Union Pac. R. Co., 864 F. Supp. 2d 949, 954 (E.D. Cal. 2012) (ruling that
A RENT F OX S HI FF LLP
                            Case No. 8:22-cv-01434-DOC-ADS
   ATTO RNEY S AT LAW
      LOS A NG EL ES
                                                                     -4-                      DEF.’S MOTION TO DISMISS
                Case 8:22-cv-01434-DOC-ADS Document 14 Filed 10/03/22 Page 5 of 16 Page ID #:47



                        1   Section 631 applies only to “third party actions and therefore, as a party to the call,
                        2   he cannot be liable as a matter of law”; further ruling by extension that a party to
                        3   conversation cannot “be liable for aiding or conspiring with a third party to enable
                        4   that party to listen in on the call.”) (emphasis added).
                        5          In contrast, Section 632 applies to any person who “intentionally and without
                        6   the consent of all parties to a confidential communication, uses an electronic
                        7   amplifying or recording device to eavesdrop upon or record the confidential
                        8   communication.” Cal. Penal Code 632. This language has uniformly been construed
                        9   to prohibit one party to a confidential communication from recording that
                       10   communication without the knowledge or consent of the other party. Warden, 99
                       11   Cal. App. 3d at 812.
                       12          More succinctly, Section 631 applies only to third parties intercepting private
                       13   communications in transit, while Section 632 restricts any party from recording a
                       14   confidential communication at its destination. See People v. Nakai, 183 Cal. App.
                       15   4th 499, 519, 107 Cal. Rptr. 3d 402, 418 (2010) (analyzing whether to exclude
                       16   recorded chat transcripts under Section 632, and not Section 631, and holding as a
                       17   matter of law that “it was not reasonable … to expect that the communications to be
                       18   confidential because … the communications could have easily been shared or
                       19   viewed” by chat service provider “or any computer user”); see also People v. Cho,
                       20   No. E049243, 2010 WL 4380113, at *5 (Cal. Ct. App. Nov. 5, 2010) (online “chat
                       21   conversations do not qualify as confidential communications for purposes of Section
                       22   632” and as result, holding that such conversations are not protected under CIPA).
                       23          Section 632.7 was an even later addition to CIPA. As one California court has
                       24   detailed, this statute was introduced because “the author of the bill … was concerned
                       25   that ‘under [then] current law” [Section 632.6 passed in 1990], it [was] only illegal
                       26   to ‘maliciously’ intercept a conversation transmitted between [cordless telephones].
                       27   There [was] no prohibition against recording a conversation transmitted between
                       28   cellular or cordless telephones.” Granina v. Eddie Bauer LLC, No. BC569111, 2015
A RENT F OX S HI FF LLP
                            Case No. 8:22-cv-01434-DOC-ADS
   ATTO RNEY S AT LAW
      LOS A NG EL ES
                                                                      -5-                    DEF.’S MOTION TO DISMISS
                Case 8:22-cv-01434-DOC-ADS Document 14 Filed 10/03/22 Page 6 of 16 Page ID #:48



                        1   WL 9855304, at *3 (Cal.Super. Dec. 02, 2015). In other words, the California
                        2   Legislature was of the view that the older sections of CIPA did not apply to even
                        3   newer forms of telephone calls.5
                        4         As a result of this coverage gap, Section 632.7 was adopted to address an
                        5   “exclusive list of five types of calls …: a communication transmitted between (1)
                        6   two cellular radio telephones, (2) a cellular radio telephone and a landline telephone,
                        7   (3) two cordless telephones, (4) a cordless telephone and a landline telephone, or (5)
                        8   a cordless telephone and a cellular radio telephone. According to this list of included
                        9   types of telephones, the communication must have a cellular radio or cordless
                       10   telephone on one side, and a cellular radio, cordless, or landline telephone on the
                       11   other side.” Montantes v. Inventure Foods, No. CV-14-1128-MWF RZX, 2014 WL
                       12   3305578, at *4 (C.D. Cal. July 2, 2014) (emphasis added).
                       13                            PLAINTIFF’S ALLEGATIONS
                       14         Plaintiff alleges in relevant part that, on its website, Boscov’s “has covertly
                       15   embedded code into its chat feature that automatically records and creates transcripts
                       16   of all such private conversations” Am. Compl. ¶ 11. With respect to these “private
                       17   conversations,” Plaintiff conclusorily asserts that “[g]iven the nature of Defendant’s
                       18   business” – an out-of-state department store – “visitors often share highly sensitive
                       19   personal data with Defendant via the website chat feature.” Id. ¶ 14.
                       20         Exactly what, if anything, Plaintiff herself communicated to Boscov’s remains
                       21   unclear. Notably, in the “Factual Allegations” section of her original Complaint,
                       22   Plaintiff specifically alleged that she used the chat program to communicate “with
                       23   someone that Plaintiff believed to be [a] customer service representative.” Compl.
                       24   ¶ 11. However, in her amended “Factual Allegations” section, Plaintiff merely
                       25   alleges that “[w]ithin the statute of limitations period, Plaintiff visited Defendant’s
                       26
                            5
                       27           One can only imagine how the Legislature would react to Section 630 being
                            applied to written messages voluntarily exchanged through a website chat feature
                       28
                            over the Internet.
A RENT F OX S HI FF LLP
                            Case No. 8:22-cv-01434-DOC-ADS
   ATTO RNEY S AT LAW
      LOS A NG EL ES
                                                                    -6-                    DEF.’S MOTION TO DISMISS
                Case 8:22-cv-01434-DOC-ADS Document 14 Filed 10/03/22 Page 7 of 16 Page ID #:49



                        1   Website,” Am. Compl. 16, and “Defendant did not inform Plaintiff, or any of the
                        2   Class Members, that Defendant was secretly wiretapping or recording their
                        3   communications.” Id. ¶ 17 (emphasis added).
                        4          Like numerous other cookie-cutter complaints Mr. Ferrell has recently filed,
                        5   and now amended, Plaintiff also conclusorily alleges that Boscov’s pays the chat
                        6   service provider “to eavesdrop on the conversations.” Id. ¶ 11. The storing of these
                        7   chat transcripts is done, according to Plaintiff, to “then harvest data from the
                        8   transcripts for financial gain” “for the benefit of” Boscov’s. Id. ¶¶ 9, 12. Plaintiff
                        9   further alleges that the chat service provider(s) were “acting as an agent and/or
                       10   employee” for Boscov’s and was “acting within the course and scope of said agency”
                       11   at all relevant times. Id. ¶ 7.
                       12                                    STANDARD OF REVIEW
                       13          Under Rule 12(b)(6), a defendant may move to dismiss for failure to state a
                       14   claim upon which relief can be granted. A plaintiff must state “enough facts to state
                       15   a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.
                       16   544, 570 (2007). A claim has “facial plausibility” if the plaintiff pleads facts that
                       17   “allow[ ] the court to draw the reasonable inference that the defendant is liable for
                       18   the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
                       19          In resolving a 12(b)(6) motion under Twombly, the Court must follow a two-
                       20   pronged approach. First, the Court must accept all well-pleaded factual allegations
                       21   as true, but “[t]hreadbare recitals of the elements of a cause of action, supported by
                       22   mere conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678. Nor must the
                       23   Court “‘accept as true a legal conclusion couched as a factual allegation.’” Id. at 678-
                       24   80 (quoting Twombly, 550 U.S. at 555).
                       25          Second, assuming the veracity of well-pleaded factual allegations, the Court
                       26   must “determine whether they plausibly give rise to an entitlement to relief.” Id. at
                       27   679. This determination is context-specific, requiring the Court to draw on its
                       28   experience and common sense, but there is no plausibility “where the well-pleaded
A RENT F OX S HI FF LLP
                            Case No. 8:22-cv-01434-DOC-ADS
   ATTO RNEY S AT LAW
      LOS A NG EL ES
                                                                     -7-                      DEF.’S MOTION TO DISMISS
                Case 8:22-cv-01434-DOC-ADS Document 14 Filed 10/03/22 Page 8 of 16 Page ID #:50



                        1   facts do not permit the court to infer more than the mere possibility of
                        2   misconduct.” Nat.-Immunogenics Corp., 2020 WL 5239856, at *4 (C.D. Cal. Aug.
                        3   3, 2020) (further sanctioning Plaintiff’s counsel in RICO suit brought against him
                        4   and his former firm based on “threaten[ing] companies with statewide class actions
                        5   under various California consumer protection statutes, and, before the companies
                        6   could discover that the allegations were false, extort out-of-court settlements from
                        7   these companies.”).6
                        8                                         ARGUMENT
                        9          A.     Boscov’s Cannot “Intercept” Communications With Its Own
                       10                 Website.
                       11          Plaintiff’s claim is fundamentally meritless because it is predicated on her
                       12   theory that Boscov’s is “wiretapping” its own website. See Am. Compl. ¶ 11
                       13
                            6
                                    For the avoidance of doubt, Boscov’s clarifies here that in the interests of
                       14   efficiency, the focus of this motion is to dismiss Plaintiff’s clearly unwarranted
                       15   claims in their entirety. By so doing, Boscov’s is certainly not conceding, and in
                            fact disputes, that Plaintiff is entitled to any of the particular relief she requests. For
                       16   example, Plaintiff’s request for injunctive relief is baseless because there is no risk
                       17   of future “injury.” “To establish standing to pursue injunctive relief, a plaintiff
                            must allege a ‘real and immediate threat of repeated injury’ in the future.”
                       18   Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939, 946 (9th Cir. 2011)
                       19   (citing Fortyune v. Am. Multi-Cinema, Inc., 364 F.3d 1075, 1081 (9th Cir. 2004) ).
                            Unless Plaintiff plans on voluntarily chatting with Boscov’s again (after she was
                       20   expressly informed of its privacy policy), there is no risk of future “injury.”
                       21   Similarly, to be entitled to attorneys’ fees under California law, a plaintiff needs to
                            allege that there was a “necessity of private enforcement” and the plaintiff’s side
                       22   was not “motivated by their own pecuniary interests.” Bui v. Nguyen, 230
                       23   Cal.App.4th 1357, 1367 (2014). Here, the California Attorney General actively
                            enforces California privacy laws, expressly including CIPA. See
                       24   https://oag.ca.gov/privacy/privacy-enforcement-actions. He just does not appear to
                       25   believe that voluntarily communicating with a business website over the public
                            Internet amounts to “eavesdropping on private communications” – and there is no
                       26
                            indication Mr. Ferrell has attempted to persuade him otherwise. Nor would Mr.
                       27   Ferrell ever be able to satisfy that he is not motivated by pecuniary gain,
                            particularly when he is sending countless letters demanding tens of millions of
                       28
                            dollars to resolve these coordinated and manufactured lawsuits.
A RENT F OX S HI FF LLP
                            Case No. 8:22-cv-01434-DOC-ADS
   ATTO RNEY S AT LAW
      LOS A NG EL ES
                                                                         -8-                      DEF.’S MOTION TO DISMISS
                Case 8:22-cv-01434-DOC-ADS Document 14 Filed 10/03/22 Page 9 of 16 Page ID #:51



                        1   (“Defendant has covertly embedded code into its chat feature” on its website that
                        2   “records and creates transcripts”). Per the plain language of Section 631, however,
                        3   the “wiretapping” conduct that is actually prohibited is “intentionally tap[ping]” or
                        4   “mak[ing] any unauthorized connection” with “any telegraph or telephone wire, line,
                        5   cable, or instrument.” Cal. Penal Code § 631(a).
                        6          It is illogical for Plaintiff to implicitly assert that providing a standard
                        7   messaging service on its own website somehow meets these statutory requirements.
                        8   No telephone lines are allegedly being “tapped” by Boscov’s website, nor is Plaintiff
                        9   claiming that Boscov’s is not authorized to make a “connection” to its own website.
                       10   Simply put, Plaintiff has not alleged any facts to support a wiretapping claim
                       11   contemplated by Section 631 in this case.
                       12          Further, Boscov’s cannot be liable under Section 631 for “eavesdropping”
                       13   because it was a party to the purportedly “intercepted” communication. That is,
                       14   California courts have long held that Section 631 applies “only to eavesdropping by
                       15   a third party and not to recording by a participant to a conversation.” Membrila v.
                       16   Receivables Performance Mgmt., LLC, No. 09-cv-2790, 2010 WL 1407274, at *2
                       17   (S.D. Cal. Apr. 6, 2010) (ruling that party to conversation could not have intercepted
                       18   or eavesdropped, because only a third party listening secretly to a private
                       19   conversation can do so).7
                       20          The case Rogers v. Ulrich analyzes a directly analogous fact pattern. There,
                       21   the defendant installed a tape recorder jack on his telephone that allowed him to
                       22   7
                                    While Plaintiff’s cookie-cutter complaint is scant on details, it should be
                       23   noted that Boscov’s chat feature on its publicly available website clearly discloses
                            the identity of the company that provides this communication service in the chatbox
                       24   itself. It is therefore no secret that an identified third party enables this customer
                       25   service feature on its website – much like Verizon or AT&T provide voice and text
                            service, and Microsoft and Google provide email services. It is therefore absurd for
                       26   Plaintiff to suggest in her Complaint that Kustomer’s involvement in providing the
                            chat service is somehow a secret. As for Webex, its involvement is so secret not
                       27   even Boscov’s has any idea why they are named in the Complaint. Simply put,
                       28   Boscov’s has no knowledge of any involvement by Webex, and this is another cut-
                            and-paste allegation by Plaintiff’s counsel that has no evidentiary support.
A RENT F OX S HI FF LLP
                            Case No. 8:22-cv-01434-DOC-ADS
   ATTO RNEY S AT LAW
      LOS A NG EL ES
                                                                        -9-                     DEF.’S MOTION TO DISMISS
              Case 8:22-cv-01434-DOC-ADS Document 14 Filed 10/03/22 Page 10 of 16 Page ID #:52



                        1   record phone calls, and then share the recordings with the media. Rogers v. Ulrich,
                        2   52 Cal. App. 3d 894, 897 (1975). In affirming the dismissal of the Plaintiff’s Section
                        3   631 claim, the court explained that it cannot be “a secret to one party to a conversation
                        4   that the other party is listening to the conversation; only a third party can listen
                        5   secretly to a private conversation.” Id. at 899 (“‘Eavesdropping’ is the problem the
                        6   Legislature meant to deal with; ‘eavesdrop’ is defined in Webster’s 7th New
                        7   Collegiate Dictionary (1972) as ‘to listen secretly to what is said in private.”’)
                        8   (emphasis added); see also Powell v. Union Pac. R.R. Co., 864 F. Supp. 2d 949, 955
                        9   (E.D. Cal. 2012) (granting a motion for summary judgment as to Section 631 claims
                       10   against party to communication “[g]iven the settled nature of the third-party focus of
                       11   section 631”); Warden v. Kahn, 99 Cal.App.3d 805, (1979) (“[S]ection 631 ... has
                       12   been held to apply only to eavesdropping by a third party and not to recording by a
                       13   participant to a conversation.”).
                       14         Here, as a threshold matter, Plaintiff has failed to allege that any private
                       15   conversation was purportedly intercepted by any entity – let alone by Boscov’s. The
                       16   only “specific” allegations Plaintiff lodges is that she “visited Defendant’s Website,”
                       17   Am. Compl. ¶ 16, along with later formulaic class allegations that “Plaintiff is
                       18   asserting claims that are typical of the Class” as a person whose communications
                       19   were supposedly recorded. Generic and conclusory allegations of communicating
                       20   with a department store’s online chat option over the public Internet hardly provides
                       21   sufficient support for a private conversation occurring – quite the opposite.8 Plaintiff
                       22   8
                                    Again, the express purpose of the Legislature enacting CIPA was to prevent
                       23   “invasion of privacy” by “eavesdropping upon private communications.” Cal.
                            Penal Code § 630 (emphasis added). That Section 631 should only apply to
                       24   private/confidential communications is further supported by Section 633.5, which
                       25   expressly groups “Sections 631, 632, 632.5, 632.6, and 632.7” together so as not to
                            “prohibit one party to a confidential communication from recording the
                       26   communication for the purpose of obtaining evidence reasonably believed to relate
                            to the commission by another party to the communication of the crime of extortion
                       27   … .” Cal. Penal Code § 633.5 (emphasis added). It is difficult to see how this
                       28   statute alone would not authorize the recording of any of Mr. Ferrell’s clients’ setup
                            communications.
A RENT F OX S HI FF LLP
                            Case No. 8:22-cv-01434-DOC-ADS
   ATTO RNEY S AT LAW
      LOS A NG EL ES
                                                                     - 10 -                 DEF.’S MOTION TO DISMISS
              Case 8:22-cv-01434-DOC-ADS Document 14 Filed 10/03/22 Page 11 of 16 Page ID #:53



                        1   has therefore failed to plead any facts to support a reasonable inference that any
                        2   private conversation occurred that falls within the scope of CIPA’s protection.9
                        3          And specifically as to Boscov’s, it is legally impossible that Boscov’s can be
                        4   “eavesdropping” on communications to its own website. Boscov’s is indisputably a
                        5   party to the communication. Plaintiff’s apparent theory that Boscov’s can “intercept”
                        6   communications to it conflicts with nearly fifty years of Section 631 precedent.
                        7   Indeed, Plaintiff’s allegations are fundamentally no different than the dismissed
                        8   Section 631 claim in Rogers, where the defendant was accused of recording
                        9   telephone calls on his phone, and then sharing the recordings with third parties. That
                       10   is what Plaintiff is alleging here, just with a newer technology.10
                       11          Finally, Boscov’s suspects that in her Opposition, Plaintiff will likely point to
                       12   a suspect line of distinguishable federal cases that depart from California state court
                       13   precedent as to whether a party to a communication can nevertheless be liable for
                       14   allegedly aiding and abetting a third party’s eavesdropping. Critically, however, as
                       15   other courts have explained, these decisions all hinged on allegations that the third
                       16   parties were “independent parties who mined information from other websites and
                       17   sold it” for the third parties’ own gain. Graham v. Noom, Inc., 533 F. Supp. 3d 823,
                       18   832 (N.D. Cal. 2021). That is, in these cases, the third parties were aggregating “data
                       19   for resale” for the their own benefit, not the benefit of the website operator. Id.
                       20          That is expressly not this case. Plaintiff specifically alleges that the chat
                       21   service provider(s) are “acting as an agent” of Boscov’s and were “at all relevant
                       22   9
                                    It would be difficult to claim that a serial plaintiff trolling the chatboxes of
                       23   online retailers’ websites has any objectively reasonable expectation of privacy, let
                            alone Article III standing, particularly when the whole purpose of this scheme is to
                       24   later sue about the conversations in open court, if the preliminary smash-and-grab
                       25   settlement efforts are not successful.
                            10
                                    As a matter of common sense, it is absurd to claim that a message recipient is
                       26   “recording” a communication that the sender has already written. No reasonable
                            person would ever say, “how dare you log, record and store the email I just sent
                       27   you.” That’s the essence of modern electronic messaging – whether email, instant
                       28   messaging, text messaging, social media posts, or website chat boxes. The Internet
                            is forever.
A RENT F OX S HI FF LLP
                            Case No. 8:22-cv-01434-DOC-ADS
   ATTO RNEY S AT LAW
      LOS A NG EL ES
                                                                       - 11 -                     DEF.’S MOTION TO DISMISS
              Case 8:22-cv-01434-DOC-ADS Document 14 Filed 10/03/22 Page 12 of 16 Page ID #:54



                        1   times … acting within the course and scope of said agency.” And as it relates to
                        2   purported “data harvesting,” Plaintiff also explicitly alleges that this is occurring “for
                        3   the benefit of” Boscov’s. Am. Compl. ¶ 12. In such cases, “[Kustomer] is an
                        4   extension of [Boscov’s]. It provides a tool – like the tape recorder in Rogers that
                        5   allows [Boscov’s] to record and analyze its own data in aid of [Boscov’s] business.”
                        6   Graham, 533 F. Supp. 3d at 832 (holding service provider “is not a third-party
                        7   eavesdropper” and website operator could not be liable for “aiding and abetting …
                        8   wrongdoing because there is no wrongdoing.”).
                        9          In short, Plaintiff has pled herself out of court by pleading that Boscov’s is
                       10   wiretapping its own website, and otherwise not deleting data Plaintiff herself
                       11   recorded on Boscov’s website. Boscov’s clearly falls within the party exception to
                       12   CIPA, and Plaintiff’s Complaint should be dismissed on this basis alone.
                       13          B.     Plaintiff Fails To Plead That Any Actual Interception Occurred
                       14          Plaintiff’s Section 631 claim independently fails because she does not
                       15   plausibly allege that any interception of her communication in transit plausibly
                       16   occurred.    Rather, what she actually complains of is that Boscov’s “store[s]
                       17   transcripts of Defendant’s chat communications” that individuals are recording
                       18   themselves “in real time” on Boscov’s website. Am. Compl. ¶ 11. That is the end
                       19   point of the communication, which does not implicate Section 631’s condition that
                       20   the recording be “in transit.”
                       21          Plaintiff’s conclusory – and counterfactual – claims of “interception” are thus
                       22   insufficient as a matter of law. See In re Vizio Inc. Consumer Priv. Litig., 238 F.
                       23   Supp. 3d 1204, 1228 (C.D. Cal. 2017) (dismissing wiretap claim because the
                       24   “conclusory allegation that Vizio intercepted their electronic communications
                       25   ‘during transmission”’ was only supported by “vague allegations about how Vizio's
                       26   data collection occurs in real-time.”); see also Rosenow v. Facebook, Inc., No. 19-
                       27   cv-1297, 2020 WL 1984062, at *7 (S.D. Cal. Apr. 27, 2020) (granting motion to
                       28   dismiss federal wiretap claim where allegations that communications were
A RENT F OX S HI FF LLP
                            Case No. 8:22-cv-01434-DOC-ADS
   ATTO RNEY S AT LAW
      LOS A NG EL ES
                                                                      - 12 -                   DEF.’S MOTION TO DISMISS
              Case 8:22-cv-01434-DOC-ADS Document 14 Filed 10/03/22 Page 13 of 16 Page ID #:55



                        1   intercepted “in transit” were “conclusory”).
                        2          In analyzing the federal analogue to CIPA, the Wiretap Act, the Ninth Circuit
                        3   held that intercepting a communication means to “to stop, seize, or interrupt in
                        4   progress or course before arrival.” Konop v. Hawaiian Airlines, Inc., 302 F.3d 868,
                        5   878 (9th Cir. 2002) (emphasis added).11 It should be conceptually impossible for a
                        6   party to a communication to “intercept” that same communication at its destination
                        7   – here, Boscov’s website. The court in Rogers fully embraced this conclusion as well
                        8   under Section 630: “a recording made by a participant does not intercept the message
                        9   while it is in transit; the recording rather transcribes the message as it is being
                       10   received.” Rogers, 52 Cal. App. 3d at 898.
                       11          Section 632 would be entirely superfluous if recording a communication at its
                       12   end point was also an “interception in transit” under Section 631. Indeed, when else
                       13   would a party to a conversation record it – other than as it is being received on the
                       14   destination device?      It is not surprising, therefore, that California courts have
                       15   consistently analyzed CIPA claims concerning “recording” chat transcripts under
                       16   Section 632, and not 631. See Nakai, 183 Cal. App. 4th at 519; see also Cho, 2010
                       17   WL 4380113, at *5.
                       18          Ultimately, Plaintiff is attempting to dress up a Section 632 claim – which
                       19   prohibits recording confidential communications without all parties’ consent – as a
                       20   Section 631 “wiretapping” claim – which applies to third parties intercepting private
                       21   communications in transit. The Court should see through this bait and switch,
                       22   because Plaintiff’s view would criminalize all forms of modern electronic messaging
                       23   over the Internet and other communications networks. 12 The simple fact is that
                       24
                            11
                       25          “The analysis for a violation of CIPA is the same as that under the federal
                            Wiretap Act.” Cline v. Reetz-Laiolo, 329 F. Supp. 3d 1000, 1051 (N.D. Cal. 2018).
                            12
                       26          When the parties’ counsel met and conferred concerning this motion,
                            Plaintiff’s counsel refused to explain how he is not “intercepting” emails by
                       27   purchasing a service to scan all messages before he receives them. Specifically,
                            individuals emailing Plaintiff’s counsel are informed after the fact that “[t]his email
                       28
A RENT F OX S HI FF LLP
                            Case No. 8:22-cv-01434-DOC-ADS
   ATTO RNEY S AT LAW
      LOS A NG EL ES
                                                                     - 13 -                  DEF.’S MOTION TO DISMISS
              Case 8:22-cv-01434-DOC-ADS Document 14 Filed 10/03/22 Page 14 of 16 Page ID #:56



                        1   Plaintiff alleged that she communicated with Boscov’s website (perhaps). That is the
                        2   end point of the communication. There can be no interception under these allegations,
                        3   and Plaintiff’s Section 631 claim should be dismissed on this independent ground.
                        4            C.      Plaintiff’s New Claim Under Section 632.7 Is Facially Inapplicable
                        5                    To Website Chat Communications
                        6            Plaintiff really jumps the shark with the addition of her claim under Section
                        7   632.7.        As detailed above, Judge Fitzgerald thoroughly analyzed this distinct
                        8   provision of CIPA in Inventure Foods, finding that by its plain terms, Section 632.7
                        9   exclusively applies to communications transmitted between “(1) two cellular radio
                       10   telephones, (2) a cellular radio telephone and a landline telephone, (3) two cordless
                       11   telephones, (4) a cordless telephone and a landline telephone, or (5) a cordless
                       12   telephone and a cellular radio telephone.” Id. at 2014 WL 3305578, at *4 (further
                       13   noting that under California law, “individualized proof is required under § 632.7 to
                       14   ‘determine what type of telephone was used to receive the subject call.’” (citation
                       15   omitted)).13
                       16            Simply put, there is no ambiguity in this statute. “[O]nly [the] types of phones
                       17   listed in the statute are included,” and the “communication must have a cellular radio
                       18   or cordless telephone on one side, and a cellular radio, cordless, or landline telephone
                       19
                       20   has been scanned for spam and viruses by Proofpoint Essentials.” This is the
                            definition of interception, so it is unclear how he is not in violation of his own view
                       21   of CIPA. More on point to his claims against Boscov’s and possibly hundreds of
                            other similarly situated website operators, he also refused to explain how Microsoft
                       22   hosting his email service in the cloud is any different than a cloud-based chat
                       23   service provider “who license the technology to Defendant.” Compl. ¶ 12. In
                            short, there is no difference. Boscov’s chat service provider, like Microsoft, “is not
                       24   a third-party eavesdropper. It is a vendor that provides a software service” and is
                            treated as an extension of the party for purposes of CIPA. See, e.g., Yale v.
                       25   Clicktale, Inc., No. 20-CV-07575-LB, 2021 WL 1428400, at *3 (N.D. Cal. Apr. 15,
                            2021).
                       26   13
                                    The fact that Plaintiff is attempting to bring a putative class action under (1) a
                       27   clearly inapposite statute that (2) would necessarily require individualized proof for
                            each putative class member, indicates that this is not a remotely defensible claim.
                       28
                            Put differently, this case is certifiable, but not as a class action.
A RENT F OX S HI FF LLP
                            Case No. 8:22-cv-01434-DOC-ADS
   ATTO RNEY S AT LAW
      LOS A NG EL ES
                                                                        - 14 -                    DEF.’S MOTION TO DISMISS
              Case 8:22-cv-01434-DOC-ADS Document 14 Filed 10/03/22 Page 15 of 16 Page ID #:57



                        1   on the other side.” Id. (emphasis added). That is clearly not this case according to
                        2   Plaintiff’s allegations. Indeed, Plaintiff alleges that she (may have) communicated
                        3   with Boscov’s website – which is not a telephone of any kind. That ends the matter.
                        4         While this admission is sufficient to dismiss Plaintiff’s Section 632.7 claim
                        5   with prejudice, it should also be noted that Plaintiff does not even allege what device
                        6   she used when she supposedly visited Boscov’s website. Rather, she once again
                        7   lumps herself into the putative class of individuals who “use smart phones … desktop
                        8   computers, and/or wifi-enabled laptops.”14 While smart phones could potentially be
                        9   a protected device, assuming there is also a covered telephone on the other side of
                       10   the communication, desktop computers and laptops are not devices covered by
                       11   Section 632.7 at all – just like websites.
                       12         At bottom, Plaintiff’s claim under Section 632.7 is clearly not warranted by
                       13   the plain and unambiguous language of the law itself. It is difficult to see how this
                       14   claim could be brought in good faith, and it should be dismissed with prejudice.
                       15                                          Conclusion
                       16         For the foregoing reasons, Defendant respectfully request that Plaintiff’s
                       17   Complaint be dismissed in its entirety.
                       18
                       19
                       20
                            14
                       21           Without getting into a Brandolini’s law rabbit hole, it should also be noted
                            that Wi-Fi is not cellular. The former is unlicensed spectrum using the IEEE
                       22   802.11 series of technical protocols and found at distinct frequency bands,
                       23   compared to the latter, which is FCC-licensed common carrier spectrum found at
                            other distinct frequency bands. And only “cellular radio telephones,” and not Wi-Fi
                       24   devices, are covered by this statute. Plaintiff also alleges that “Plaintiff’s
                       25   communication was transmitted from a ‘cellular radio telephone’ and/or ‘landline
                            telephone’ as defined by Section 632.7.” Am. Compl. ¶ 32. Yet “landline
                       26
                            telephone” is not even a term defined by Section 632.7 – presumably because calls
                       27   from landlines to other landlines are not covered, as the statute was only meant to
                            extend coverage to cellular telephones and cordless telephones. Suffice it say, this
                       28
                            claim should be taken out behind the barn and shot for multiple reasons.
A RENT F OX S HI FF LLP
                            Case No. 8:22-cv-01434-DOC-ADS
   ATTO RNEY S AT LAW
      LOS A NG EL ES
                                                                     - 15 -                    DEF.’S MOTION TO DISMISS
              Case 8:22-cv-01434-DOC-ADS Document 14 Filed 10/03/22 Page 16 of 16 Page ID #:58



                        1   Dated: October 3, 2022              ARENTFOX SCHIFF LLP
                        2
                        3                                    By:_______________________________
                                                               JOHN S. PURCELL
                        4                                      LYNN R. FIORENTINO
                                                               DOUGLAS E. HEWLETT, JR.
                        5                                      Attorneys for Boscov’s, Inc.
                        6
                        7
                        8
                        9
                       10
                       11
                       12
                       13
                       14
                       15
                       16
                       17
                       18
                       19
                       20
                       21
                       22
                       23
                       24
                       25
                       26
                       27
                       28
A RENT F OX S HI FF LLP
                            Case No. 8:22-cv-01434-DOC-ADS
   ATTO RNEY S AT LAW
      LOS A NG EL ES
                                                             - 16 -             DEF.’S MOTION TO DISMISS
